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                                                                                                                                                      AMENDED
                                                            UNITED STATES BANKRUPTCY COURT
                                                                 WESTERN DISTRICT OF TENNESSEE

 In re:           Dedrick Woods                                                                                    Case No. 19-27627

 Debtors:                                                                                                          Chapter 13


                                                                          CHAPTER 13 PLAN


 ADDRESS:                 (1)    9346 Cedar Brook Cv                                                (2)
                                 Cordova, TN 38016

PLAN PAYMENT:
      Debtor(1) shall pay $ 318.00                                                          (     weekly,     every two weeks,   semi-monthly, or         monthly, by:
          PAYROLL DEDUCTION From:                                        Shelby County Government Memphis,               OR ( ) DIRECT PAY
                                                                        TN 38103

             Debtor(2) shall pay $                                                          (     weekly,     every two weeks,   semi-monthly, or         monthly, by:
                   PAYROLL DEDUCTION From:                                                                               OR (        ) DIRECT PAY

1. THIS PLAN [Rule 3015.1 Notice]:

               (A) CONTAINS A NON-STANDARD PROVISION. [See plan provision #19]                                                       YES                      NO
               (B) LIMITS THE AMOUNT OF A SECURED CLAIM BASED ON A VALUATION                                                         YES                      NO
                   OF THE COLLATERAL FOR THE CLAIM. [See plan provisions #7 and #8]
               (C) AVOIDS A SECURITY INTEREST OR LIEN. [See plan provision #12].                                                     YES                      NO

2. ADMINISTRATIVE EXPENSES: Pay filing fee and Debtor(s)’ attorney fee pursuant to Confirmation Order.

3. AUTO INSURANCE:                       Included in Plan; OR            Not included in Plan; Debtor(s) to provide proof of insurance at §341meeting.

 4. DOMESTIC SUPPORT:                                                                                                                Monthly Plan Payment:

                                               Paid by:   Debtor(s) directly   Wage Assignment, OR      Trustee to:
 Shelby County Child Support                   ongoing payment begins To be paid outside of plan via wage                            $0.00
 Office                                                                 assignment
                                               Approximate arrearage: 0.00                                                           $0.00

5. PRIORITY CLAIMS:

 -NONE-                                                                   Amount                                                       $

6. HOME MORTGAGE CLAIMS:                                 Paid directly by Debtor(s); OR         Paid by Trustee to:

 None                                      ongoing payment begins                                                                    $
                                           Approximate arrearage:                                     Interest                       $

7. SECURED CLAIMS:

 [Retain lien 11 U.S.C. §1325 (a)(5)]                                   Value of Claim:                     Rate of Interest         Monthly Plan Payment:
 Conn's HomePlus                                                        324.00                              7.25                     $7.00

8. SECURED AUTOMOBILE CLAIMS FOR DEBT INCURRED WITHIN 910 DAYS OF FILING, AND OTHER
   SECURED CLAIMS FOR DEBT INCURRED WITHIN ONE YEAR OF FILING:

 [Retain lien 11 U.S.C. §1325 (a)]                                      Value of Claim:                     Rate of Interest         Monthly Plan Payment:
 American Credit Accept                                                 22,193.00                           7.25                     $443.00

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9. SECURED CLAIMS FOR WHICH COLLATERAL WILL BE SURRENDERED; STAY IS TERMINATED UPON
   CONFIRMATION FOR FOR THE LIMITED PURPOSE OF GAINING POSSESSION AND COMMERCIALLY
   REASONABLE DISPOSAL OF COLLATERAL:

 -NONE-                                                                     Collateral:

10. SPECIAL CLASS UNSECURED CLAIMS:

                                                                        Amount:                        Rate of Interest      Monthly Plan Payment:
 Havenbrook Homes, LLC                                                  3,354.46                       0.00                  $56.00

11. STUDENT LOAN CLAIMS AND OTHER LONG TERM CLAIMS:

 None                                                                                     Not provided for    OR          General unsecured creditor

12. THE JUDICIAL LIENS OR NON-POSSESSORY, NON-PURCHASE MONEY SECURITY INTEREST(S) HELD BY
    THE FOLLOWING CREDITORS ARE AVOIDED TO THE EXTENT ALLOWABLE PURSUANT TO 11 U.S.C.§522(f):

 -NONE-

13. ABSENT A SPECIFIC COURT ORDER OTHERWISE, ALL TIMELY FILED CLAIMS, OTHER THAN THOSE
   SPECIFICALLY PROVIDED FOR ABOVE, SHALL BE PAID AS GENERAL UNSECURED CLAIMS.


14. ESTIMATED TOTAL GENERAL UNSECURED CLAIMS: $7,463.00


15. THE PERCENTAGE TO BE PAID WITH RESPECT TO NON-PRIORITY, GENERAL UNSECURED CLAIMS IS:

                     0.00    %, OR,
                     THE TRUSTEE SHALL DETERMINE THE PERCENTAGE TO BE PAID AFTER THE PASSING OF THE
                     FINAL BAR DATE.

16. THIS PLAN ASSUMES OR REJECTS EXECUTORY CONTRACTS:

 Havenbrook Homes, LLC: Residential lease                                                                          Assumes OR                    Rejects.

17. COMPLETION: Plan shall be completed upon payment of the above, approximately 60 months.

18. FAILURE TO TIMELY FILE A WRITTEN OBJECTION TO CONFIRMATION SHALL BE DEEMED ACCEPTANCE
   OF PLAN.

19. NON-STANDARD PROVISION(S):


      ANY NON-STANDARD PROVISION STATED ELSEWHERE IS VOID.

20. CERTIFICATION: THIS PLAN CONTAINS NO NON-STANDARD PROVISIONS EXCEPT THOSE STATED IN
   PROVISION 19.


 /s/ B. David Sweeney                                                                                Date October 8, 2019                              .
 B. David Sweeney 012821
 Debtor(s)’ Attorney Signature or Pro Se Debtor(s)’ Signature(s)




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